                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        BROWNSVILLE DIVISION


                                                 )
STATE OF TEXAS, et al.,                          )
                                     Plaintiffs, )
                                                 )
vs.                                              )   Case No.1:18-cv-00068
                                                 )
UNITED STATES OF AMERICA, et al.,                )
                                    Defendants. )


APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
         INJUNCTION AND MEMORANDUM IN SUPPORT




                          Volume 3

                          Exhibit 16
          
          
          
          
          
          
    Exhibit 16    

 

 

 

 

 

 

 

 

 

 

 

 




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